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                          IN THE UNITED STATES DISTRICT COURT
                                FOR THE DISTRICT OF UTAH


                                                 STANDING ORDER IN CIVIL CASES

                                                 (updated 2/13/2018)

                                                 District Judge Jill N. Parrish



       The court issues the following standing order in this case regarding procedures that

supersede the court’s local rules with respect to multiple motions to dismiss or for summary

judgment, courtesy copies, requests for extensions of time, requests to file an overlength

memorandum, and requests for leave to file a surreply.

       Because this order establishes new procedures, all counsel are required to file, within

seven days, a Notice of Acknowledgment, which can be found under “Other Filings” Notices.

That notice must: (i) be signed by counsel; and (ii) verify that counsel carefully read and will

comply with this order.

        MULTIPLE MOTIONS TO DISMISS OR FOR SUMMARY JUDGMENT

       Litigants should file a single motion to dismiss or motion for summary judgment. Absent

permission from the court, Judge Parrish does not allow the practice of filing a separate motion

for each cause of action.

       If multiple parties are represented by the same attorney, motions and responses should be

consolidated to a single document where practicable. If an attorney represents multiple
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defendants, for example, that attorney should avoid filing a motion to dismiss or motion for

summary judgment for each defendant where the defendants have similar arguments. The

attorney should instead note any differences between the motions brought by individual

defendants in separate sections of a single brief, avoiding repetition where possible. Similarly, an

attorney representing multiple plaintiffs should file a single response to each motion to dismiss

or motion for summary judgment. The court may strike portions of briefs that are repetitive or

that have been cut and pasted from other documents filed with the court.

                                      COURTESY COPIES

       Litigants need not provide courtesy copies of motions or memoranda filed with the court.

But at the time of filing, parties must supply the court with one hard copy of the exhibits

supporting a motion for summary judgment or a response to a motion for summary judgment.

Parties should also provide a courtesy copy of exhibits supporting any other motion or

memorandum if the exhibits are both voluminous and necessary to the resolution of the motion

before the court. The exhibits should be tabbed, indexed, and placed in a three-ring binder or

velobound.

        REQUESTS FOR EXTENSIONS OF TIME, TO FILE AN OVERLENGTH
            MEMORANDUM, AND FOR LEAVE TO FILE A SURREPLY

       Except for extensions of time granted by the clerk of the court under DUCivR 77-2, the

following procedures apply to all requests for extensions of time, requests to file an overlength

memorandum, and requests for leave to file a surreply when such requests relate to a dispositive

motion that will be heard by Judge Parrish.1 These procedures do not apply to requests relating to


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  For example, the court’s standing order would apply to all motions for leave to file an
overlength brief, leave to file a surreply or an extension of time that relate to a motion to dismiss,
motion for summary judgment, motion for injunctive relief, motion for terminating sanctions or
pretrial motions in limine.


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motions pending before a Magistrate Judge.2 If the parties have any questions about whether a

motion is referred to a Magistrate Judge or will be heard by Judge Parrish, please contact

chambers.

           Failure to follow these procedures will result in denial of the party’s request for an

extension of time, permission to file an overlength memorandum, or for leave to file a surreply.

With this in mind, the court sets forth the following rules governing the aforementioned requests:

       1. No request of this kind may be filed as ex parte.

       2. Prior to filing such a request, a party must confer with opposing counsel with the intent to

           obtain a stipulation. This conference may take place by email or phone, but it is

           insufficient to simply send an email or leave a voicemail immediately prior to filing the

           request. If a stipulation cannot be reached, the party filing the motion should outline all

           efforts to confer with opposing counsel and obtain a stipulation.

       3. If the parties stipulate to the request, the motion should be styled as a “Stipulated

           Motion” and no response to the request will be anticipated. If the opposing party did not

           stipulate to the request, then it must file an opposition to the request within three business

           days from the date the request is filed. There will be no reply.

       4. When a motion of this kind is filed, the time for response in opposition is three business

           days from the date the motion was filed. There will be no reply.

       5. Any memorandum supporting or opposing the request is limited to four total pages,

           including the caption page, but excluding the certificate of service.

       6. The court notes that it disfavors requests to file overlength memoranda. Thus, all such

           requests must identify the number of additional pages requested, the reasons why


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    Matters typically referred to a Magistrate Judge include discovery motions and other non-dispositive motions.



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      additional pages are necessary, and what efforts the party has made to comply with the

      page limits allowed under the local rules.

                                            BY THE COURT



                                            ______________________________
                                            Jill N. Parrish
                                            United States District Court Judge




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